                                                                      CLERK'S OFFICE U.S.DI
                                                                                          ST.COURT
                                                                          AT CHARLOTFESVILE,VA
                                                                                   FILED

                         UM TED STATES DISTRICT COURT
                                                                             sEF 11 2219
                         W ESTERN DISTRICT OF VIRGINIA                    J Lt*. x.    ,
                                                                         BY'
                           CH ARLOTTESVILLE DIVISION                            EP


U N ITED STATE S OF AM ER ICA                     Crim inal'Num ber:3:19-CR-00014

             V.                                   In V iolation of:

DA M EL M CM AH O N                               18IJ-s-c.j245(b)(1)(A)
                                                  Interference w ith C andidate for
                                                  Elective O ffice

                                                  18U.S.C.j245(b)(4)
                                                  Bias-M otivated Interference w ith
                                                  Candidate for Elective O ffice

                                                  18U.S.C.j875(c)
                                                  T hreatsin Interstate Com m erce

                                                  18U.S.C.j2261A42)
                                                  Cyberstalking


                                    SU PER SED IN G
                                  JN D lC T M E N T
The GrandJury charges,ata11timesm aterialto thislndictment:

              Drfendant DANIEL M CM M ION,à.resident of the State of Florida,used the

intem etand socialm edia accotmtsto expresshis beliefs regarding race,color,nationaloligin,

religion,an.
           d othertopics. On these accounts,M CM AHON expressed and prom oted hisbelief

thatwhitepeople aresuperiorto membersofotherracial,ethnic,andreligiousp oups.

       2.     Prior to January 7, 2019, D .G ., an A frican-A m erican resident of the City of

Charlottesville,Virginia,decided to nm for the Democratic nomination to the Charlottesville

City Council, an elective office in Charlottesville, Virgirlia. D .G.plnnned to nnnounce his

oandidacy atan eventscheduled forJanuary 8,2019.




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                On or about January 7,2019,localnews outlets in Charlottesville reported that

D.G.plnnned to nnnotm ce his candidacy for the Democratic nom ination for City Council,and

thatheplanned to nnnotm cethiscandidacy atthe eventscheduled forJanuary 8,2019.

                On oraboutJanuary 7,2019,DefendantDANIEL M CM AHON ,by threatofforce

and violence,used the intem etand his socialm edia accotmts to intim idate and interfere with

D.G.'s qualifying and cnmpaigning as a candidate for Chadottesville City Cotmcil.

thereafterlenrned ofthesetllreatsmadebyM CM AHON .

                On oraboutJanuary 8,2019,attheeventwhereD.G.had plnnned to nnnotmcellis

candidacy,D.G.instead nnnounced thathe w ould not be seeldng the office of Charlottesville

City Cotmcil.

                                        C O U N T O NE
                        (InterferencewithCandidatefôrElectiveOfdce)
                                    18U.S.C.j245@ (1)(A)
       6.        The allegationssetforth in paragraphs 1through 5 areincorporated by reference

and setforth fullyherein.

                 From on or about January 7,2019 to on or about January 10,2019,within the

W estem DistrictofVirginia and elsewhere,DefendantDANIEL M CM AHON ,by threatofforce

willftzlly intim idated and interfered with,and attempted to intimidate and interfere with,D.G.,

because hewasand had been,and in orderto intimidate D.G.from ,qualifying and cnmpaigning

asa candidateforCharlottesville City Council,an electiveofscein Charlottesville,Virginia.

       8.       A11inviolationofTitle18,United StatesCode,Section245(b)(1)(A).




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                                        COUNT TW O
                (Bias-M otivatedInterferencewithCandidateforElectiveOffice)
                                     18U.S.C.j245(b)(4)
       9.       The allegationssetforth in paragraphs 1through 5 are incorporated by reference

and setforth ftzlly herein.

       10.     From on or about January 7,2019 to on or aboutJanuary 10,2019,within the

W estem DistrictofVirgirliaand elsewhere,DefendantDAN IEL M CM AHON,by threatofforce

willfully intim idated and interfered with,and attempted to intim idate and interfere with,D .G.,

because he wms and had been, and in order to intimidate D.G.from, participating,without

discrim ination on account of race and color,in a federally protected activity described in 18

U.S.C.j245(b)(1)(A),towit,qualifyingand cnmpaigningasacandidateforCharlottesvilleCity
Cotmcil,an elective officein Charlottesville,Virginia.

       11. A11inviolation ofTitle18,UrlitedStatesCode,Section245(b)(4).

                                      CO U N T TH R EE
                               (ThreatsinlnterstateCommexce)
                                      18U.S.C.j875/)
       12.     The allegationssetforth in paragraphs 1 through 5 are incop orated by reference

and setforth f'ully herein.

               On or about January 7, 2019, within the W estem District of Virginia and

elsewhere,DefendantDANIEL M CM AHON knowingly and willfully transmitted in interstate

andforeigncommerceacommllnicationcontainingathreattoinjttreD.G.
       14. A11inviolationofTitle18,UnitedStatesCode,Section875(c).




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                                      COUNT FoUR
                                       (Cyberstalking)
                                     18U.S.C.j2261A42)
       15.    The allegations setforth in paragraphs 1 throug,h 5 are incorporated by reference

and setforth fully herein.

       16.    Beginning on oraboutDecember22,2017,through on oraboutJanuary 10,2019,

within the W estem DistrictofVirginia and elsewhere,DefendantDANIEL M CM AHON,with

intent to injtlre and intimidate D.G., used any interactive computef service, electronic
comm llnication service,electronic communication system ofinterstate comm erce,and any other

facility ofinterstate and foreign comm erce,to engage in a cotzrse ofconductthatplaced D.G.in

reasonablefearofdeath andseriousbodilyinjury,andthatcaused,attemptedtocause,andwould
bereasonably expectedto cause substantialem otionaldistressto D.G.

              Al1inviolation ofTitle18,UnitedStatesCode,Sedion2261A(2).




A TRUE BILL this11thday ofSeptember2019

                                                         S/GM ND JUSFFOSJT FSSOX
                                 5                       G RA N D JURY FOREPERSON
                                 $



      ( '                        .
THOSLNS L CU      N
U NITED STA TES A TTORN EY




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